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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NEW YORK


  IN RE HAIN CELESTIAL HEAVY                  Case No. 2:21-cv-00678-NM-AYS
  METALS BABY FOOD LITIGATION
                                              The Honorable Nina Morrison




           JOINT STIPULATION TO MODIFY DISCOVERY SCHEDULE




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        WHEREAS:

        1.      On December 27, 2024, the Court issued an order granting in part and denying in

 part Defendant The Hain Celestial Group, Inc.’s (“Hain Celestial’s”) motion to dismiss. ECF No.

 213.

        2.      On January 15, 2025, Plaintiffs and Hain Celestial (the “Parties”) jointly stipulated

 to the entry of a discovery schedule, which contemplated the substantial completion of document

 discovery by June 20, 2025.

        3.      The Parties have worked cooperatively to resolve their disagreements over

 discovery issues, and Hain Celestial has commenced its rolling production of documents. The

 Parties nonetheless agree that the current deadline of June 20, 2025 for the substantial completion

 of document discovery is not realistic given the volume of documents left to produce and the

 parties’ outstanding disagreements regarding various discovery issues. The Parties believe that a

 continuance of the discovery schedule will give Hain Celestial adequate time to complete its

 rolling production of documents and for the parties to resolve any outstanding discovery disputes.

        4.      The Parties therefore stipulate to modify the discovery schedule to continue the

 deadline for the substantial completion of document discovery by approximately nine weeks until

 August 23, 2025. The Parties have also agreed to continue the remaining deadlines in the discovery

 schedule by the same period of time, such that fact discovery will close on October 31, 2025 and

 Plaintiffs’ deadline to file a letter requesting leave to file a motion for class certification will be

 November 21, 2025.

        5.      This is the Parties’ first request for a modification of the discovery schedule, and

 the requested modification will not affect any other deadlines set by Court order.
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        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, subject to the

 Court’s approval, that the discovery schedule be modified as follows:

  Event                                   Current Deadline           New Deadline
  Parties’ Substantial Completion of      June 20, 2025              August 23, 2025
  Document Discovery
  Close of Fact Discovery                 August 29, 2025            October 31, 2025
  Plaintiffs to file letter motion        September 19, 2025         November 21, 2025
  requesting leave to file a motion for
  class certification

 Date: June 20, 2025

 Respectfully submitted,


 LABATON KELLER SUCHAROW LLP                          JENNER & BLOCK LLP

 /s/ Danielle Izzo (with permission)                  /s/ Dean N. Panos
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was filed on June

 20, 2025 with the Clerk of the Court by using the CM/ECF system, which will effect electronic

 service on all parties and attorneys registered to receive notifications via the CM/ECF system.


 Dated: June 20, 2025                         By:          /s/ Dean N. Panos
                                                               Dean N. Panos




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